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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

INTERNATIONAL BUSINESS MACHINES
CORPORATION,
                                                     20 Civ. 4573
                       Plaintiff,

                       v.                            [PROPOSED] ORDER TO SHOW
                                                     CAUSE FOR AN ORDER FOR A
RODRIGO KEDE DE FREITAS LIMA,                        PRELIMINARY INJUNCTION AND
                                                     TEMPORARY RESTRAINING
                       Defendant.                    ORDER



               Upon the Summons and Complaint of Plaintiff International Business

Machines Corporation (“IBM”), the Declaration of Randy Walker, executed on June 15,

2020, the Declaration of Pietro J. Signoracci, executed on June 17, 2020, and the

accompanying Memorandum of Law in Support of Plaintiff’s Application for a Temporary

Restraining Order and Preliminary Injunction, and good and sufficient reason appearing to

me therefor, it is hereby

               ORDERED that Defendant Rodrigo Kede de Freitas Lima or his counsel

show cause at a hearing to be held in this Court before the Honorable __________________,

United States District Judge, in Courtroom _____, United States Courthouse, 500 Pearl

Street, New York, New York, on _______________, 2020 at _____ ___.m., or as soon

thereafter as counsel may be heard, why the Court should not enter an order for a preliminary

injunction pursuant to Rule 65(a) of the Federal Rules of Civil Procedure and the Court’s

inherent powers, pending final determination of this action:
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                (a) enjoining and restraining Defendant Lima from commencing employment

with Microsoft Corporation (“Microsoft”), or otherwise associating with Microsoft prior to

May 20, 2021;

                (b) enjoining Defendant Lima, prior to May 20, 2021, from soliciting for

competitive business purposes any customer of IBM with which Defendant Lima was

involved as part of his job responsibilities at IBM during the last twelve months of his

employment at IBM;

                (c) enjoining Defendant Lima, prior to May 20, 2022, from directly or

indirectly hiring, soliciting, or making an offer to any employee of IBM to be employed or

perform services outside IBM;

                (d) enjoining Defendant Lima from using, disclosing, or transmitting for any

purpose records, documents, or information containing any confidential or proprietary

information of IBM; and

                (e) ordering such further relief the Court deems just and proper;

                AND it being shown by the above-referenced declarations and memorandum

of law that Plaintiff will suffer immediate and irreparable harm unless, pending the hearing

of the motion brought on by this Order to Show Cause, a temporary restraining order be in

effect, providing the relief requested by Plaintiff on this motion for a preliminary injunction,

pursuant to Rule 65(b) of the Federal Rules of Civil Procedure, it is hereby

                ORDERED that Defendant Rodrigo Kede de Freitas Lima is temporarily

ENJOINED AND RESTRAINED, until the hearing and determination of Plaintiff’s motion

for a preliminary injunction, from: (i) working at, announcing any prospective employment

or association with, or providing any services for, Microsoft; (ii) soliciting any customer of



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IBM with which Defendant Lima was involved as part of his job responsibilities at IBM

during the last year of his employment at IBM; (iii) contacting any current employees of

IBM for the purpose of influencing them to leave IBM; and (iv) retaining, using, or

disclosing IBM confidential or proprietary information; and it is further

               ORDERED that security in the sum of _______ shall be posted by Plaintiff on

or before ______; and it is further

               ORDERED that Plaintiff shall effect personal delivery of a copy of this order

and supporting papers, by hand delivery service and email to Defendant or Defendant’s

counsel, no later than _____ p.m. on _______________, 2020, which shall be deemed good

and sufficient service and notice thereof; and it is further

               ORDERED that Defendant shall file with the Court and serve any responsive

papers by overnight delivery and email on Plaintiff’s counsel, Robert A. Atkins, Esq., Paul,

Weiss, Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas, New York, New

York 10019-6064, ratkins@paulweiss.com, on or before ____ _.m. on ______________,

2020 and that Plaintiff shall file with the Court and serve any reply papers by overnight

delivery and email on Defendant or Defendant’s counsel, on or before ____ _.m. on

______________, 2020.

                                                  SO ORDERED:



                                                               U.S.D.J.




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